10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

£-)

ase 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 1 of 26 Page ID #:44

ie flac Bly: bab

NICOLA T. HANNA
United States Attorney
LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division
ARON KETCHEL (Cal. Bar No. 250345)
Assistant United States Attorney
Public Corruption and Civil Rights Section
1500 United States Courthouse
312 North Spring Street
Los Angeles, California 90012
Telephone: (213) 894-1019
Facsimile: (213) 894-6436
E-mail: aron.ketchel@usdoj.gov

 

Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA 4 TAL
_ —

UNITED STATES OF AMERICA, No. crli9_C R 0 0 2 8

Plaintiff, ‘PLEA AGREEMENT FOR DEFENDANT
SHANT OHANTAN

Vv.
SHANT OHANIAN,

Defendant.

 

 

 

1. This constitutes the plea agreement between SHANT OHANIAN
(“defendant”) and the United States Attorney’s Office for the Central
District of California (the “USAO”) in the above-captioned case.

This agreement is limited to the USAO and cannot bind any other
federal, state, local, or foreign prosecuting, enforcement,
administrative, or regulatory authorities.

DEFENDANT’ S OBLIGATIONS

2. Defendant agrees to:

a. Give up the right to indictment by a grand jury and,
at the earliest opportunity requested by the USAO and provided by the

Court, appear and plead guilty to a single-count information in the

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

ase 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 2 of 26 Pagé ID #:45

form attached to this agreement as Exhibit A or a substantially
similar form, which charges defendant with wire fraud, in violation
of 18 U.S.C. § 1343.

b. Not contest the Factual Basis agreed to in this

agreement.

c. Abide by all agreements regarding sentencing contained
in this agreement.

d. Not seek the discharge of any restitution obligation,
in whole or in part, in any present or future bankruptcy proceeding.

e. Appear for all court appearances, surrender as ordered
for service of sentence, obey all conditions of any bond, and obey
any other ongoing court order in this matter.

£. Not commit any crime; however, offenses that would be
excluded for sentencing purposes under United States Sentencing
Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not
within the scope of this agreement.

g. Be truthful at all times with the United States
Probation and Pretrial Services Office and the Court.

h. Pay the applicable special assessment at or before the
time of sentencing unless defendant lacks the ability to pay and
prior to sentencing submits a completed financial statement on a form

to be provided by the USAO.

THE USAO’S OBLIGATIONS

 

3. The USAO agrees to:
a. Not contest the Factual Basis agreed to in this
agreement.
b. Abide by all agreements regarding sentencing contained

in this agreement.

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 3 of 26 Page ID #:46

Cc. At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offense up to
and including the time of sentencing, recommend a two-level reduction
in the applicable Sentencing Guidelines offense level, pursuant to
U.S.S.G. § 3H1.1, and recommend and, if necessary, move for an
additional one-level reduction if available under that section.

d. At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offense up to
and including the time of sentencing, not seek a sentence of
imprisonment above 151 months.

NATURE OF THE OFFENSE

4. Defendant understands that for defendant to be guilty of
the crime charged in the information, that is, wire fraud, in
violation of Title 18, United States Code, Section 1343, the
following must be true: (1) the defendant knowingly participated ina
scheme or plan to defraud, or a scheme or plan for obtaining money or
property by means of false or fraudulent pretenses, representations,
or promises, or omitted facts; (2) the statements made or facts
omitted as part of the scheme were material; that is, they had a
natural tendency to influence, or were capable of influencing, a
person to part with money or property; (3) the defendant acted with
the intent to defraud, that is, the intent to deceive or cheat; and
(4) the defendant used, or caused to be used, an international or
interstate wire communication to carry out or attempt to carry out an
essential part of the scheme.

PENALTIES AND RESTITUTION

5. Defendant understands that the statutory maximum sentence

that the Court can impose for a violation of Title 18, United States

3

 
10
11
12
13
14
15
16
17
18
19

20

21

22
23
24
25
26
27

28

 

 

7ase 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 4 of 26 Page ID #47

Code, Section 1343, is: 20 years imprisonment; a 3-year period of
supervised release; a fine of $250,000 or twice the gross gain or
gross loss resulting from the offense, whichever is greatest; and a
mandatory special assessment of $100.

6. Defendant understands that defendant will be required to
pay full restitution to the victim(s) of the offense to which
defendant is pleading guilty. Defendant agrees that, in return for
the USAO’s compliance with its obligations under this agreement, the
Court may order restitution to persons other than the victim(s) of
the offenses to which defendant is pleading guilty and in amounts
greater than those alleged in the count to which defendant is
pleading guilty. In particular, defendant agrees that the Court may
order restitution to any victim of any of the following for any
losses suffered by that victim as a result: any relevant conduct, as
defined in U.S.S.G. § 1B1.3, in connection with the offense to which
defendant is pleading guilty. The parties currently believe that the
applicable amount of restitution is approximately $4,199,720, but
recognize and agree that this amount could change based on facts that
come to the attention of the parties prior to sentencing.

7. Defendant understands that supervised release is a period
of time following imprisonment during which defendant will be subject
to various restrictions and requirements. Defendant understands that
if defendant violates one or more of the conditions of any supervised
release imposed, defendant may be returned to prison for all or part
of the term of supervised release authorized by statute for the
offense that resulted in the term of supervised release, which could
result in defendant serving a total term of imprisonment greater than

the statutory maximum stated above.

4

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Gase 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 5 of 26 Page ID #:48

8. Defendant understands that, by pleading guilty, defendant
may be giving up valuable government benefits and valuable civic
rights, such as the right to vote, the right to possess a firearm,
the right to hold office, and the right to serve on a jury.

Defendant understands that once the court accepts defendant’s guilty
plea, it will be a federal felony for defendant to possess a firearm
or ammunition. Defendant understands that the conviction in this
case may also subject defendant to various other collateral
consequences, including but not limited to revocation of probation,
parole, or supervised release in another case and suspension or
revocation of a professional license. Defendant understands that
unanticipated collateral consequences will not serve as grounds to
withdraw defendant’s guilty plea.

9. Defendant understands that, if defendant is not a United
States citizen, the felony conviction in this case may subject
defendant to: removal, also known as deportation, which may, under
some circumstances, be mandatory; denial of citizenship; and denial
of admission to the United States in the future. The court cannot,
and defendant’s attorney also may not be able to, advise defendant
fully regarding the immigration consequences of the felony conviction
in this case. Defendant understands that unexpected immigration
consequences will not serve as grounds to withdraw defendant’s guilty
plea.

FACTUAL BASIS

10. Defendant admits that defendant is, in fact, guilty of the
offenses to which defendant is agreeing to plead guilty. Defendant
and the USAO agree to the statement of facts provided below and agree
that this statement of facts is sufficient to support a plea of

5

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

Gase 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 6 of 26 Page ID #:49

guilty to the charge described in this agreement and to establish the
Sentencing Guidelines factors set forth in paragraph 12 below but is
not meant to be a complete recitation of all facts relevant to the
underlying criminal conduct or all facts known to either party that
relate to that conduct.

Beginning in or around May 2012, defendant and defendant’s wife,
Silva Sevlian Ohanian (“Silva Ohanian”) engaged in a scheme to
defraud defendant’s legal clients by claiming that defendant obtained
favorable legal resolutions for his clients when, in fact, defendant
had not obtained favorable resolutions and, in many cases, had never
initiated a legal action. Defendant became a licensed member of the
California State Bar in January 2012 and was disbarred in December
2017.

Victim 1

In October 2012, Victim 1 retained defendant to file a green
card application on Victim 1’s behalf. Victim 1 initially paid
defendant $1,200 to perform legal services. In June 2014, defendant
informed Victim 1 that Victim i’s green card application had been
approved and in March 2015, defendant forwarded Victim 1 a fictitious
email purportedly sent by United States Citizenship and Immigration
Services (“USCIS”) in November 2014 in which USCIS reported that
Victim 1’s green card application had been approved. After Victim 1
did not receive the green card, in March 2015, defendant emailed
Victim 1 a fictitious demand letter that defendant purportedly sent
to USCIS. In April 2015, defendant falsely reported to Victim 1 that
USCIS had agreed to pay Victim $2,950,000 to settle Victim 1’s
purported claims against USCIS. After Victim 1 did not receive a_
settlement payment, defendant falsely claimed to have obtained a

6

 

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

Gase 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 7 of 26 Page ID #:50

default judgment against USCIS and sent Victim 1 a fictitious order
from the Superior Court of California for the County of Los Angeles,
including a forged signature of a superior court judge.

Victims 2 and 3

In May 2012, Victims 2 and 3 retained defendant to file a
lawsuit in a commercial dispute Victims 2 and 3 had with a
franchisor. Defendant’s retainer agreement with Victims 2 and 3
provided that defendant would be paid all attorney costs as well as
40% of any recovery Victim 2 and 3 received, excluding attorney
costs. In March 2016, defendant presented a counterfeit check in the
amount of $67,553.38 purportedly from the franchisor to settle the
claims brought by Victims 2 and 3. Victims 2 and 3 attempted to
negotiate the check but the check was not accepted by the bank.
Defendant falsely reported in between March 2016 and October 2016
that the court had found in favor of Victims 2 and 3 and against the
franchisor in the amount of $600,000. Victim 2 passed away in
October 2016. On an unknown date in late 2016 or early 2017,
defendant claimed to file a lawsuit against Wells Fargo bank on
Victim 3’s behalf to obtain the purported favorable judgments and
then falsely informed Victim 3 that the court had awarded Victim 3 an
additional $1.2 million. During the course of the fraudulent conduct
directed at Victims 2 and 3, defendant and Silva Ohanian made
“spoofed” phone calls to Victims 2 and 3, in which defendant and
Silva Ohanian used online services to make disguised telephone calls
in which the call appeared to originate (based upon the caller ID)
from banks, the Internal Revenue Service, and the Federal Reserve,
and in which defendant and Silva Ohanian claimed to be
representatives of those institutions. The purpose of the calls was

7

 

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

7ase 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 8 of 26 Pagé ID #:51

to fraudulently corroborate information defendant provided to Victims
2 and 3. In approximately January 2018, defendant fraudulently
created two checks from Victim 3’s bank account totaling
approximately $6,380 that listed defendant as the payee. Defendant
successfully negotiated the checks on January 5, 2018. In February
2018, Victim 3 confronted defendant about being disbarred. Defendant
falsely denied that he had been disbarred and presented a counterfeit
California bar card as evidence that he was still a member of the
California State Bar. Defendant continued to falsely insist that
lawsuits defendant filed on behalf of Victims 2 and 3 had settled in
Victim 3’s favor and defendant provided Victim 3 with a counterfeit
check for $2.85 million and provided Victim 3’s adult son with a
counterfeit check for $327,000. Victim 3 and her son attempted to
negotiate the checks but they were both returned due to insufficient
funds in the account.

Victim 4

In June 2013, Victim 4 retained defendant to file a tort claim
against South Coast Plaza mall in Orange County, California (the
“Mall”), after Victim 4 sustained injuries from a fall at the Mall
and incurred thousands of dollars in medical bills. Defendant’s
retainer agreement with Victim 4 provided that defendant would be
paid all attorney costs as well as between 33% and 40% of any
recovery Victim 4 received, excluding attorney costs, depending upon
when Victim 4’s legal claims were resolved in her favor. Victim 4
had limited speech capabilities after the fall and was assisted by
her sister in communicating with defendant. After he was retained to
represent Victim 4, defendant instructed Victim 4 not to pay her
medical bills and stated he would get the mall to take care of Victim

8

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

Case 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 9 of 26 Page ID #:52

4's medical bills. In March 2016, defendant sent Victim 4 an email
containing a purported settlement agreement entered into with the
Mall, in which the Mall agreed to pay Victim 4 $22,000. Victim 4
executed the settlement agreement and defendant then falsely claimed
to have received a settlement check from the Mall, which defendant
claimed he mailed by Federal Express to Victim 4. After Victim 4
threatened to report defendant to the California State Bar, defendant
sent Victim 4 a previously-canceled check for $25,000 in October
2016, which Victim 4 attempted to negotiate but the bank rejected.
‘The applicable statute of limitations for Victim 4 to file a claim
against the Mall expired before Victim 4 realized she had been
defrauded by defendant.

Victims 5 and 6

In January 2015, defendant agreed to represent Victim 5 and 6 in
a commercial dispute between the company owned by Victims 5 and 6
(“Company A”) and a foreign company (“Company B”). Company B filed
an arbitration claim against Company A in December 2014, claiming
damages of $1,093,300. Victims 5 and 6 retained defendant to respond
to the arbitration claim, which defendant falsely claimed to Victims
5 and 6 he did. As a result of defendant’s failure to respond to the
arbitration claim, a default arbitration judgment was entered against
Company A, and the U.S. District Court for the Central District of
California confirmed the arbitration award against Company A in
December 2015, awarding Company B $1,126,556, plus interest (the
“Default Judgment”). In June 2016, defendant provided Victims 5 and
6 with a counterfeit letter purportedly sent by the U.S. Department
of Justice, Office of Legal Policy, Office of Foreign Civil Affairs,
California Division, indicating that an action had been filed on

9

 

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

CG

 

ase 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 10 of 26 Page ID #53

Company A’s behalf. As part of this purported action, defendant
required Victims 5 and 6 to pay $90,000 in “bonds” that defendant
falsely claimed were required to proceed. Victims 5 and 6 learned of
the Default Judgment in December 2016 when they were rejected for a
new loan based upon the Default Judgment. Between early 2017 and
early 2018, defendant falsely assured Victims 5 and 6 that the
Default Judgment had not been entered and falsely promised that
Victims 5 and 6 would receive a judgment in their favor in the amount
of $3 million. In an effort to conceal his lies, defendant provided
Victims 5 and 6 with counterfeit wire transfer receipts indicating
money had been transferred to Victims 5 and 6. In addition,
defendant and Silva Ohanian made multiple spoofed telephone calls to
Victims 5 and 6, purporting to be a clerk of the court or bank
representative, in an attempt to corroborate defendant’s false
statements to Victims 5 and 6.

Victim 7

In July 2013, Victim 7 retained defendant to assist in
recovering a deposit of $500,000 related to a failed commercial real
estate transaction for a shopping center in Ontario, California (the
“Shopping Center”). After being retained, defendant represented
Victim 7 in a deposition related to the matter. Following the
deposition, defendant falsely informed Victim 7 in February 2016 that
Victim 7 had prevailed and would receive $1.2 million in damages,
plus penalties. On February 5, 2016, defendant presented Victim 7
with a counterfeit check for $1,925,477.78, which Victim 7 attempted
to negotiate but the bank rejected as counterfeit. Defendant denied
the check was counterfeit and, on March 25, 2016, presented Victim 7
with a check for $7,244,211.45, which was also later determined to be

10

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

C

 

ase 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 11 of 26 Page ID #:54

counterfeit. During the course of the purported representation,
defendant falsely informed Victim 7 that defendant represented Victim
7 in a parallel bankruptcy proceeding related to the property in the
U.S. Bankruptcy Court in the Central District of California (Case No.
2:13-bk-29180-RK). Defendant provided Victim 7 with counterfeit U.S.
Bankruptcy Court pleadings, including orders containing the forged
signature of a U.S. Bankruptcy Judge. Defendant made multiple
spoofed calls to Victim 7 in which he claimed to either bank
officials or government officials. Silva Ohanian also made spoofed
phone calls to Victim 7, claiming to be the clerk of the Bankruptcy
court in an attempt to corroborate defendant’s lies to Victim 7.
Silva Ohanian also delivered fraudulent U.S. Bankruptcy Court
documents to Victim 7 at Victim 7’s residence on behalf of defendant.
Between March 2016 and September 2017, defendant falsely informed
Victim 7 that Victim 7 could acquire the Shopping Center at a
discounted price in lieu of receiving a cash settlement. Defendant
instructed Victim 7 that Victim 7 needed to make multiple payments,
including for back taxes and overdue mortgage payments, in order to
acquire the Shopping Center. For example, in or around April 2017,
while Victim 7 was traveling in Florida, defendant, who was located
in California, called Victim 7 by telephone and instructed Victim 7
to pay “unpaid court fees” to defendant even though Victim 7 owed no
such court fees. Victim 7 paid defendant approximately $2,839,875
between March 2016 and September 2017 based upon defendant’s false

representation that the money would be used to acquire the Shopping

Center.

il

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

Cc

 

ase 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 12 of 26 Page ID #:55

SENTENCING FACTORS

11. Defendant understands that in determining defendant’s
sentence the Court is required to calculate the applicable Sentencing
Guidelines range and to consider that range, possible departures
under the Sentencing Guidelines, and the other sentencing factors set
forth in 18 U.S.C. § 3553(a). Defendant understands that the
Sentencing Guidelines are advisory only, that defendant cannot have
any expectation of receiving a sentence within the calculated
Sentencing Guidelines range, and that after considering the
Sentencing Guidelines and the other § 3553(a) factors, the Court will
be free to exercise its discretion to impose any sentence it finds
appropriate up to the maximum set by statute for the crime of
conviction.

12. Defendant and the USAO agree to the following applicable
Sentencing Guidelines factors:

Base Offense Level: 7 [U.S.S.G. § 2Bl1.1(a) (1)]

Specific Offense
Characteristics:

Loss of More Than $3.5

million +18 [U.S.S.G. § 2B1.1(b) (1) (J) ]
Involved 10 or more victims +2 [U.S.S.G. § 2B1.1(b) (2) (A) ]
Fraudulent Action During 42 [U.S.S.G. § 2B1.1(b) (9) (B) ]

Bankruptcy Proceeding
Sophisticated Means 42 [U.S.S.G. § 2B1.1(b) (10) (C)]
Use of Authentication Feature +2 [U.S.S.G.

§ 2B1.1(b) (11) (A) (22) ]

Adjustments:

Abuse of Trust/ Use of +2 [U.S.S.G. § 3B1.3]
Special Skill

12

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

C,

 

ase 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 13 of 26 Page ID #:56

Defendant and the USAO reserve the right to argue that additional
specific offense characteristics, adjustments, and departures under
the Sentencing Guidelines are appropriate.

13. Defendant understands that there is no agreement as to
defendant’s criminal history or criminal history category.

14. Defendant and the USAO reserve the right to argue for a
sentence outside the sentencing range established by the Sentencing
Guidelines based on the factors set forth in 18 U.S.C. § 3553(a) (1),
(a) (2), (a) (3), (a) (6), and (a) (7).

WATVER OF CONSTITUTIONAL RIGHTS
15. Defendant understands that by pleading guilty, defendant

gives up the following rights:

a. The right to persist in a plea of not guilty.

b. The right to a speedy and public trial by jury.

om The right to be represented by counsel —- and if
necessary have the court appoint counsel -- at trial. Defendant

understands, however, that, defendant retains the right to be

represented by counsel -- and if necessary have the Court appoint
counsel -- at every other stage of the proceeding.
d. The right to be presumed innocent and to have the

burden of proof placed on the government to prove defendant guilty

beyond a reasonable doubt.

e. The right to confront and cross-examine witnesses

against defendant.

f. The right to testify and to present evidence in
opposition to the charges, including the right to compel the

attendance of witnesses to testify.

13

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

C

ase 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 14 of 26 Page ID #:57

g. The right: not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

h. Any and all rights to pursue any affirmative defenses,
Fourth Amendment or Fifth Amendment claims, and other pretrial
motions that have been filed or could be filed.

WAIVER OF APPEAL OF CONVICTION

16. Defendant understands that, with the exception of an appeal
based on a claim that defendant’s guilty plea was involuntary, by
pleading guilty defendant is waiving and giving up any right to
appeal defendant’s conviction on the offense to which defendant is
pleading guilty. Defendant understands that this waiver includes,
but is not limited to, arguments that the statute to which defendant
is pleading guilty is unconstitutional, and any and all claims that
the statement of facts provided herein is insufficient to support
defendant’s plea of guilty.

LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

17. Defendant agrees that, provided the Court imposes a total
term of imprisonment on all counts of conviction of no more than 180
months, defendant gives up the right to appeal all of the following:
(a) the procedures and calculations used to determine and impose any
portion of the sentence; (b) the term of imprisonment imposed by the
Court; (c) the fine imposed by the court, provided it is within the
statutory maximum; (d) to the extent permitted by law, the
constitutionality or legality of defendant’s sentence, provided it is
within the statutory maximum; (e) the amount and terms of any
restitution order, provided it requires payment of no more than
$4,199,720; (f£) the term of probation or supervised release imposed

14

 

 

 
10
1i
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

C

ase 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 15 of 26 Page ID #:58

by the Court, provided it is within the statutory maximum; and

(g) any of the following conditions of probation or supervised
release imposed by the Court: the conditions set forth in General
Order 18-10 of this Court; the drug testing conditions mandated by 18
U.S.C. S$§ 3563(a) (5) and 3583(d); and the alcohol and drug use
conditions authorized by 18 U.S.C. § 3563(b) (7).

18. The USAO agrees that, provided all portions of the sentence
are at or below the statutory maximum specified above, the USAO gives
up its right to appeal any portion of the sentence, with the
exception that the USAO reserves the right to appeal the following:
the amount of restitution ordered.

RESULT OF WITHDRAWAL OF GUILTY PLEA

19. Defendant agrees that if, after entering a guilty plea
pursuant to this agreement, defendant seeks to withdraw and succeeds
in withdrawing defendant’s guilty plea on any basis other than a
claim and finding that entry into this plea agreement was
involuntary, then the USAO will be relieved of all of its obligations
under this agreement.

EFFECTIVE DATE OF AGREEMENT

20. This agreement is effective upon signature and execution of
all required certifications by defendant, defendant’s counsel, and an
Assistant United States Attorney.

BREACH OF AGREEMENT

21. defendant agrees that if defendant, at any time after the
signature of this agreement and execution of all required
certifications by defendant, defendant’s counsel, and an Assistant
United States Attorney, knowingly violates or fails to perform any of
defendant’s obligations under this agreement (“a breach”), the USAO

15

 

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

C

 

ase 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 16 of 26 Page ID #:59

may declare this agreement breached. All of defendant’s obligations
are material, a single breach of this agreement is sufficient for the
USAO to declare a breach, and defendant shall not be deemed to have
cured a breach without the express agreement of the USAO in writing.
If the USAO declares this agreement breached, and the Court finds
such a breach to have occurred, then: (a) if defendant has previously
entered a guilty plea pursuant to this agreement, defendant will not
be able to withdraw the guilty plea, and (b) the USAO will be
relieved of all its obligations under this agreement.

COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

OFFICE NOT PARTIES

 

22. Defendant understands that the Court and the United States
Probation and Pretrial Services Office are not. parties to this
agreement and need not accept any of the USAO’s sentencing
recommendations or the parties’ agreements to facts or sentencing
factors.

23. Defendant understands that both defendant and the USAO are
free to: (a) supplement the facts by supplying relevant information
to the United States Probation and Pretrial Services Office and the
Court, (b) correct any and all factual misstatements relating to the
Court’s Sentencing Guidelines calculations and determination of
sentence, and (c) argue on appeal and collateral review that the
Court’s Sentencing Guidelines calculations and the sentence it
chooses to impose are not error, although each party agrees to
maintain its view that the calculations in paragraph 12 are
consistent with the facts of this case. This paragraph permits both
the USAO and defendant to submit full and complete factual
information to the United States Probation and Pretrial Services

16

 

 
10
il
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

C

 

ase 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 17 of 26 Page ID #:60

Office and the Court, even if that factual information may be viewed
as inconsistent with the Factual Basis or Sentencing Factors agreed
to in this agreement.

24. Defendant understands that even if the Court ignores any
sentencing recommendation, finds facts or reaches conclusions
different from those agreed to, and/or imposes any sentence up to the
maximum established by statute, defendant cannot, for that reason,
withdraw defendant’s guilty plea, and defendant wiil remain bound to
fulfill all defendant’s obligations under this agreement. Defendant
understands that no one -- not the prosecutor, defendant’s attorney,
or the Court -- can make a binding prediction or promise regarding
the sentence defendant will receive, except that it will be within
the statutory maximum.

NO ADDITIONAL AGREEMENTS

25. Defendant understands that, except as set forth herein,
there are no promises, understandings, or agreements between the USAO
and defendant or defendant’s attorney, and that no additional
promise, understanding, or agreement may be entered into unless ina
writing signed by all parties or on the record in court.

///
///
///

17

 

 
Case 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 18 of 26 Page ID #:61

Mm
oe
J

N
va

28

 

 

 

PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING
26. The parties agree that this agreement will be considered
part of the record of cefendant's guilty plea hearing as if the
entire agreement had been read into the record of the proceeding.
AGREED AND ACCEPTED

UNITED STATES ATTORNEY'S OFFICE
FOR THE CENTRAL DISTRICT oF

CALIFPORNTA

NZCOLA qT. HANNA

ain Ik LU 5 loli

 

 

 

 

ARSS KETCHE Date '
Assistap ait red States Attorney
a ?
gOS ’
Va _. SYBIL73
~ OHAN TAN Late /#

“ Lt VY. OQ” | 5/3/14

STEPHEN DEMTLE Date
Attorney for Defendant Snant
Chanian

CERTISICATION Os DEFENDANT

a

Il have read this agreement in its entirety. I have had enough

time to review and consider this agreement, ard I have carefully and

thoroughly discussed every part of it with my attorney. I understand

the terms of this agreement, and I voluntarily eqree to those terms.
I have discussed the evidence with.my attorney, and my attorney has
advised me of my rights, of possible pretrial motions that might be

filed, of possible defenses that might be asserted elther prior to or

at trial, of the sentencing Factors set forth in 18 U.S.C. § 3553(a},

of relevant Sentencing Guidelines provisions, and of the conssquences

TR
ao

 
Case 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 19 of 26 Page ID #:62

hy

28

of entering imto this agreament. No promises, inducements, or
representations of any kind have been made to me other than those
contained in this agreement. No one has threatened or forced me in
any way to enter into this agreement. "= am setisfied with the
representation of my attorney in this matter, and E an pleading
guilty because T am guilty of the charges and wish to take advantage

ef the promises set forth in this agreenent, end not for any other

 

 

 

 

reason.
- ry.
\ C/I 5/3/19
SHAN? OHANIAN Dats /

Defendant

CERTIFICATION OF DEFENCANT’S ATTORNEY
To am Shant Ohanian’s attorney. I have cezefully and thoroughly

discussed every part of this agreement with my client. Further, I

have fully advised my client of his rights, of possibie voretrial
motions that might be filed, of possible deferses that might be
asserted either prior to or at trial, .of the sentencing factors set
Forth in 1& U.S.C. § 3553(a), of relevant Sentencing Guidelines

provisions, and of the consequences of entering into this agreement.

y

To my knowledge: no premises, inducements, or vepreseantations of any

ao

kind have been made ta my client ofher than trose contained in this

agreement; no one has threatened or forced my client in any way to

enter into this agreement; my client’s decisicn to enter inte this

agreement is én informed and voluntary one; and the factual basis set

 
Case 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 20 of 26 Page ID #:63

10
11
12
13
14
15
16
1?
18
19
20
21
22
23
24
25
26
27
28

 

 

forth in this agreement is sufficient to support my client’s entry of

a guilty plea pursuant to this agreement.

LEK 0.2 5/3 [14

 

 

STEPHEN DEMIK Date
Attorney for Defendant Shant
Ohanian

20

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

C

ase 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 21 of 26 Page ID #:64

BXHIBIT A

 

 

 

 
10
il
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

Case 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 22 of 26 Page ID #:65

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA, CR No. 19-
Plaintiff, INFORMATION
Vv. [18 U.S.C. § 1343: Wire Fraud]

SHANT OHANIAN,

Defendant.

 

 

The United States Attorney charges: -
[18 U.S.C. § 1343]
A. INTRODUCTORY ALLEGATIONS

At all times relevant to this Information:

1. Defendant SHANT OHANIAN (“OHANIAN”’) was a resident of Los
Angeles County, within the Central District of California.

2. Between in or about January 2012 and January 2017,
defendant was an attorney licensed by the State Bar of California.
B, THE SCHEME TO DEFRAUD

3. Beginning on an unknown date, but no later than on or about
May 5, 2012, and continuing through at least on or about May 21,
2018, in Los Angeles County, within the Central District of

California, and elsewhere, defendant and Silva Sevlian Ohanian, also

 

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

C

ase 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 23 of 26 Page ID #:66

known as Silva Sevlian (“Silva Ohanian”), knowingly and with the
intent to defraud, devised, participated in, and executed a scheme to
defraud defendant’s legal clients as to material matters, and to
obtain money and property from defendant’s legal clients by means of
material false and fraudulent pretenses, representations, and
promises and the concealment of material facts.
C. THE MANNER AND MEANS OF THE SCHEME TO DEFRAUD

4, The scheme to defraud operated, in substance, in the
following manner:

a. Individuals and businesses would retain defendant
OHANTAN to represent them in legal matters.

b, Defendant OHANIAN would inform his clients that he
filed, on the client’s behalf, legal paperwork in court or with
federal immigration authorities when, in fact, defendant OHANIAN knew
no such legal paperwork had been filed.

c. Defendant OHANIAN would inform his clients that he had
obtained favorable legal resolutions when, in fact, defendant OHANIAN
knew that no such favorable legal resolution had been reached.

d. Defendant OHANTAN would solicit from his clients
payment for legal services that he never rendered and for expenses he
never incurred.

e. Defendant OHANIAN and Silva Ohanian would provide
fraudulent legal paperwork to defendant OHANIAN’s clients
representing that defendant OHANIAN had obtained favorable legal
resolutions for his clients.

f. Defendant OHANIAN and Silva Ohanian would make
disguised phone calls to defendant OHANTAN’s clients, in which
defendant OHANIAN and Silva Ohanian claimed to be representatives of

2

 

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

C

ase 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 24 of 26 Page ID #:67

financial institutions, government agencies, as well as state and
federal courts, in order to represent that defendant OHANIAN had
obtained favorable legal resolutions for his clients.
D. THE USE OF THE WIRES

5. In or around April 2017, in Los Angeles County, within the
Central District of California, defendant OHANIAN, for the purpose of
executing the above-described scheme to defraud, transmitted and
caused the transmission of a wire communication in interstate and
foreign commerce, namely, defendant OHANIAN made a telephone call to
Victim 7 while Victim 7 was located in Florida, in which defendant
OHANTAN instructed Victim 7 to make payments for “unpaid court fees”

to defendant OHANIAN, when, in fact, Victim 7 did not owe any court

fees.

NICOLA T. HANNA
United States Attorney

LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

MACK E. JENKINS

Assistant United States Attorney
Chief, Public Corruption and Civil
Rights Section

DANIEL J. O'BRIEN

Assistant United States Attorney
Deputy Chief, Public Corruption
and Civil Rights Section

ARON KETCHEL

Assistant United States Attorney
Public Corruption and Civil Rights
Section

 

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 25 of 26 Page ID #:68

PROOF OF SERVICE

I, Sandy Har, declare:

That I am a citizen of the United States and a resident of or
employed in Los Angeles County, California; that my business address
is the Office of United States Attorney, 312 North Spring Street,
Los Angeles, California 90012; that I am over the age of 18; and
that I am not a party to the above-titled action;

That I am employed by the United States Attorney for the
Central District of California, who is a member of the Bar of the
United States District Court for the Central District of California,
at whose direction the service by mail described in this Certificate
was made; that on May 8, 2019, I deposited in the United States mail
at the United States Courthouse in the above-titled action, in an
envelope bearing the requisite postage, a copy of: PLEA AGREEMENT
FOR DEFENDANT SHANT OHANTAN

service was:

[] Placed in a closed envelope Placed in a sealed envelope
for collection and inter- for collection and mailing
office delivery, addressed as via United States mail,
follows: addressed as follows:

[1] By hand delivery, addressed [] By facsimile, as follows:
as follows:

[| By messenger, as follows: [| By Federal Express, as

follows:

Stephen Demik
1617 Sheridan Lake Road
Rapid City, SD 57702

at his last known address, at which place there is a delivery

service by United States mail.

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

Case 2:19-cr-00284-JAK Document 29 Filed 05/08/19 Page 26 of 26 Page ID #:69

This Certificate is executed on May 8, 2019, at Los Angeles,

California. I certify under penalty of perjury that the foregoing

honel Sa

SANDY EAR/
Legal Assistant

is true and correct.

 

 
